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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

v.                                                                   Case No. 1:07MJ2


RUSSELL C. FOSTER III,

       Defendant.


                                      ORDER/OPINION

       On January 22, 2007, came the United States by Shawn Angus Morgan, its Assistant United

States Attorney, and Russell C. Foster III, in person and by his counsel, Brian J. Kornbrath, for

preliminary hearing on the criminal complaint filed against him on January 17, 2007.

       Prior to the taking of evidence, Defendant waived the preliminary hearing in writing. From

the colloquy between the Court and the defendant, the Court concludes Defendant’s decision to

waive the preliminary hearing was knowingly and voluntarily made. The Court accepts Defendant’s

waiver of preliminary hearing.

       The Court therefore finds there is probable cause to believe that:

       On or about January 14, 2007, at or near Jane Lew, Lewis County in the Northern
       District of West Virginia defendant[] did[] manufacture a controlled substance; to
       wit: methamphetamine in violation of Title 21, United States [C]ode, Section(s)
       841(a)(1) and 841(b)(1)(C).

       It is therefore ORDERED that Russell C. Foster III be bound over for proceedings before

a Grand Jury attending the United States District Court for the Northern District of West Virginia.

       Defendant’s oral motion to continue the detention hearing in order to obtain a full pre-trial

services report is GRANTED.
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       It is therefore ORDERED that the detention hearing be continued to Thursday, January 25,

2007 at 3:00 p.m. at the Clarksburg point of holding Court and that Defendant remain in the custody

of the United States Marshal pending the outcome of the detention hearing.

       The Clerk shall direct copies of this order to counsel for the United States, to counsel for the

defendant, to the United States Marshal, and to the United States Probation Officer.

       DATED this 22nd day of January, 2007.

                                                      /s John S. Kaull


                                                      JOHN S. KAULL
                                                      UNITED STATES MAGISTRATE JUDGE
